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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                              CIVIL ACTION NO. 17-11011-GAO

                                       ANDREW MOBUS,
                                          Plaintiff,

                                                 v.

                                       BARD COLLEGE,
                                         Defendant.


                                           ORDER
                                         March 24, 2021

O’TOOLE, S.D.J.

       This Order resolves several pending motions in this case.

       The parties’ Joint Motion for Approval of Stipulation and Proposed Order (dkt. no. 236) is

GRANTED. A separate order will issue.

       The plaintiff’s Motion to Bifurcate Trial (dkt. no. 262) is GRANTED. Although the

defendant may seek to introduce evidence of the plaintiff’s pre-Simon’s Rock academic and

disciplinary issues as potentially relevant to the plaintiff’s claim for damages, it is precluded at

this stage from seeking to introduce evidence regarding the plaintiff’s alleged admissions-related

misrepresentations and Simon’s Rock’s purported reliance on those misrepresentations.

Consequently, the plaintiff’s Motion for Judgment on the Pleadings and Motion to Strike

Affirmative Defense (dkt. no. 244) and Motion in Limine to Preclude the Trial Testimony of Leslie

Davidson (dkt. no. 249) are DENIED without prejudice to renewal prior to a second stage of

proceedings if applicable. The plaintiff’s Motion in Limine to Limit Evidence Relating to

Plaintiff’s Prior Schools (dkt. no. 257) is GRANTED in part and DENIED in part consistent with

the ruling on the Motion to Bifurcate Trial.
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       The plaintiff’s Motion in Limine to Preclude Any Reference to the Mobus v. Doe

Defamation Proceeding (dkt. no. 247), Motion in Limine to Limit References to the L.F.

Proceeding (dkt. no. 254), and Motion in Limine to Preclude Any Reference to the Financial

Situation of Plaintiff or His Family (dkt. no. 248) are DENIED as pretrial matters, without

prejudice to possible renewal at trial as circumstances may warrant.

       The defendant’s oral request for a witness from Stockbridge to testify remotely is DENIED.

       It is SO ORDERED.

                                                            /s/ George A. O’Toole, Jr.
                                                            Senior United States District Judge




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